 Case 18-55697-lrc      Doc 215   Filed 07/25/19 Entered 07/25/19 13:14:47   Desc Main
                                  Document      Page 1 of 4
                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

                                                )      Case No.:   ,12 - Ls-a7iiec
                                                )
                                                )
                                                )
                                                )      Chapter:

           Debtor(s)_

                                             aC
       Ol

              CUA/Lkii                                       4.190. 9/ J7S5E, "
      e/C                              -6L)
CoAL, Ofrill                         /LS9/(0aJJg              -ze Ls           0/,
                                              ,
     kalaar                                         C/G74                effelb
                                                                              AZi7-€1:,0/
 MC"-        Q a7A/-, 6C-A2/
                                               d4.e.iaDiCedAl2)




                                  Signature:



                                  Printed Name:             5_0(41510,11
                                                              iddi
                                  Address:                         N
                                                                         30(6/7
                                  Phone:
 Case 18-55697-lrc    Doc 215   Filed 07/25/19 Entered 07/25/19 13:14:47   Desc Main
                                Document      Page 2 of 4
                EASTSIDE SURGICAL ASSOCIATES
                     1600 MEDICAL WAY, SUITE 220
          OFFICE: 770-972-7999 FAX: 770-972-9528



Date: 7/19/2019

This is to certify that Cassandra Landry

Diagnosis:

( ) May resume usual and customary work activities on



( ) May return part-time on           for                           week;
after which, he/she may resume full-time work.


( ) May return to full-time work on                            with the
following limitations:



( ) The above patient will undergo


  ) He/She will be out of work for approximately

(X) To Whom it may concern. Cassandra Landry is currently
under physicians care . She has not been released as of yet..
                                                     Signature:
 Case 18-55697-lrc         Doc 215      Filed 07/25/19 Entered 07/25/19 13:14:47              Desc Main
                                        Document      Page 3 of 4
Kaiser Permanente
GWINNETT INTERNAL MEDICINE
3650 Steve Reynolds Blvd.
Duluth GA 30096

Encounter Date: 7/8/2019

Patient: Cassandra Johnson Landry
Health Record Number: 0651281




VERIFICATION OF TREATMENT

Cassandra Johnson Landry was seen at our medical offices on 7/8/19


Cassandra Johnson Landry reports she has been ill since 6/17/19. Hospitalized until 6/28/19

May not return to work until medically cleared by the surgeon.



                     /9
Date/Time                                                  ure

Please note: A copy of this information will be maintained our medical record. If validation of
this verification is requested, a copy of this form will be forwarded to the requesting party.



I authorize release of this medical information.


Name                                         Date


Witness                                       Date

Your Health Care Team,
Kim A Livsey, MD
          Case 18-55697-lrc      Doc 215     Filed 07/25/19 Entered 07/25/19 13:14:47            Desc Main
                                             Document      Page 4 of 4


                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION



 IN RE:                                                Case No: /                9-7
                                                       Chapter      7



                 Debtor(s)

                                          CERTIFICATE OF SERVICE
      I, the undersigned, hereby certify under penalty of perjury that I am and at all times hereinafter mentioned,

 was more than 18 year of age, and that on the                 day of   V                    2019, I served a copy

 of    the            /2-ki/ZzAi                                                           k jevpiti-Azif
 which was ile in this b        ptcy atter on th6)5        day of                      , 2019.



Mode of service (check one):                MAILED                          HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):

          ?6-                   6"v6(--,13
                 ria/w/                                                           figiiteN4)
                                                                    „Siit.s35—
          A l cichaddiNJ0/1-65v-
      gim-
 I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.



                                                      Signature:

                                                      Printed N         ./to-aka1/y) -4,1d
                                                      Address:                      Jc)ZP4 apt/              cil()/47

                                                      Phone:             LD ‘36,1
